
407 S.E.2d 543 (1991)
329 N.C. 501
STATE of North Carolina
v.
Vadney Bruton COTTON.
No. 147P91.
Supreme Court of North Carolina.
August 14, 1991.
Ann B. Petersen, Barry T. Winston, Chapel Hill, for defendant.
James Wallace, Jr., Sp. Deputy Atty. Gen., Carl R. Fox, Dist. Atty., Raleigh, for State.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Attorney General; and upon consideration of the petition for discretionary review of the decision of the North Carolina Court of Appeals, filed by Defendant pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is

*544 "Allowed by order of the Court in conference, this the 14th day of August 1991."
The Petition for Discretionary Review is:
"Denied by order of the Court in conference, this the 14th day of August 1991."
